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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                              :
                                                       :
                         v.                            :
                                                       :       CASE NO.
 DAVID JOSEPH GIETZEN,                                 :
                                                       :
                               Defendant.              :
                                                       :

                                                  ORDER

        This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe the

disclosure will result in flight from prosecution, destruction of or tampering with evidence, and

serious jeopardy to the investigation, the United States has established that a compelling

governmental interest exists to justify the requested sealing.

        1.       IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that the

affidavit in support of criminal complaint and other related materials, the instant application to seal, and

this Order are sealed until the arrest warrant is executed.

        2.       IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.



Date:3/25/2022
                                                              ___________________________________
                                                              HONORABLE ZIA M. FARUQUI
                                                              UNITED STATES MAGISTRATE JUDGE




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